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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :
                                                 :
               v.                                :   Crim. No. 21-CR-103 (CJN)
                                                 :
ROBERT PACKER                                    :

                    UNOPPOSED MOTION TO CONTINUE SENTENCING

       Defendant, Robert Keith Packer, through undersigned counsel, Stephen F. Brennwald,

Brennwald & Robertson, respectfully moves this Court to continue the sentencing set for July 29,

2022, to August 25, 2022, at 2 p.m. To the extent necessary (in light of the defendant’s plea),

defendant consents to the exclusion of time under the Speedy Trial Act between July 29, 2022 and

August 25, 2022. In support of this unopposed motion, defendant states as follows:

       1.      This matter is set for sentencing on July 29, 2022.

       2.      Given that date, any sentencing memoranda would be due a week prior – in this

case, on July 22, 2022.

       3.      Unfortunately, undersigned counsel still needs to meet with Mr. Packer to discuss

a host of issues ahead of sentencing, and because Mr. Packer is unable to drive to undersigned

counsel’s office for reasons that do not need to be discussed here, counsel must travel to see him.

       4.      Defendant lives over three hours from the District of Columbia. In order to save

the government money, undersigned counsel is hoping that he can combine a visit to a client who

is incarcerated at the Northern Neck Regional Jail with the visit to see Mr. Packer in Newport

News, Virginia.

       5.      Counsel is waiting to obtain a preliminary presentence investigation report in that

matter, and he expects that that will happen in the next week or two.
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         6.      In light of this, defendant asks that the sentencing hearing in this case be pushed

back to August 25, 2022, at 2 p.m. – a date that has been cleared with the government and this

Court.

         7.      As noted above, Mr. Packer agrees to toll the time between July 29, 2022 and

August 25, 2022 under the Speedy Trial Act.

         8.       The government does not oppose this request.

         WHEREFORE, for the foregoing reasons, defendant respectfully requests that the Court

GRANT this unopposed motion to continue the sentencing hearing to August 25, 2022, at 2 p.m.,

and that the Court exclude the period from July 29, 2022, and August 25, 2022 from the

computation of time under the Speedy Trial Act.

                                               Respectfully submitted,

                                               Stephen F. Brennwald
                                               ________________________________
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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was sent, by ECF, this 19th day of
July, 2022, to all parties of record.


                                               Stephen F. Brennwald
                                               _________________________________
                                               Stephen F. Brennwald
